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                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO

NEW MEXICO TOP ORGANICS—ULTRA HEALTH, INC.,
a New Mexico corporation,
JACOB R. CANDELARIA, on behalf of himself and all others similarly situated,
MATIAS TRUJILLO, as father and guardian of MT, a minor,
and on behalf of himself and all others similarly situated,
ERICA ROWLAND, on behalf of herself and all others similarly situated, and
ARIEL MCDOUGAL, on behalf of herself and all others similarly situated,
      Plaintiffs,

vs.                                                         No. 1:22-cv-00546-MV-LF

BLUE CROSS AND BLUE SHIELD OF NEW MEXICO,
PRESBYTERIAN HEALTH PLAN, INC.,
a New Mexico corporation, and
WESTERN SKY COMMUNITY CARE, INC.,
a New Mexico corporation,
      Defendants.

               PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

           Defendants ask the Court to consider numerous disputed documents and facts outside the

pleadings in their purported Rule 12(b)(6) motion, from disputed guidance from the New Mexico

Office of Superintendent of Insurance (“OSI”), to the member handbooks and benefit booklets, to

selected pages from Plaintiff Candelaria’s BCBSNM benefit booklet, to the benchmark plan and the

alternative benefit plan. Plaintiffs are entitled to discovery on the actual benefits Defendants do

provide beyond the broad categories.

           Then, Defendants misconstrue Plaintiffs’ Amended Complaint and focus entirely on SB317,

rather than the aggregated effect of New Mexico statutes. Medical cannabis is a medically necessary

behavioral health service under the Lynn and Erin Compassionate Use Act1 (“LECUA”), caselaw, and

experts in the field; New Mexico health insurance plans must cover medically necessary behavioral


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    N.M. STAT. ANN. 1978 § 26-2B-1 et seq.
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health services under the New Mexico benchmark or the Alternative Benefit Plan; and SB317 requires

no cost sharing for those behavioral health services. New Mexico law requires that Defendants cover

medical cannabis because it is a behavioral health service as defined under New Mexico law and

according to expert opinion informing LECUA—not a medication or prescription as defined under

federal Medicaid law. See Vialpando v. Ben’s Auto. Services, 2014-NMCA-084, ¶ 11, 331 P.3d 975,

978 (“medical [cannabis] is not a prescription drug”). The Court need not reconcile federal Medicaid

law on prescriptions, and lack of federal reimbursement is not a barrier to New Mexico mandating

coverage.

       Defendants’ “background” information also looks far beyond the pleadings and is incomplete

or incorrect, because cannabis is set to be rescheduled, and because determinations of medical

necessity and the specific behavioral health services that must be covered are either fact issues, or

allegations that must be taken as true and construed in Plaintiffs’ favor at this point in the proceedings.

Nearly all of Defendants’ listed “Other Authorities” are actually extrinsic evidence. Mot. vii–viii.

Laboring through any such contested factual determinations as part of a Rule 12 motion is wholly

inappropriate.

   1. The Rule 12(b)(6) standard requires only plausibility, allegations must be accepted as
      true, and looking beyond the pleadings is generally inappropriate.

       To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the complaint “must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1974

(2007)). The Court must “ask whether there is ‘plausibility in [the] complaint.’” Christy Sports, LLC

v. Deer Valley Resort Co., Ltd., 555 F.3d 1188, 1191–92 (10th Cir. 2009) (quoting Twombly, 127 S.

Ct. at 1970). “The complaint ‘does not need detailed factual allegations,’ but the ‘[f]actual allegations




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must be enough to raise a right to relief above the speculative level.’” Id. (quoting Twombly, 127 S.

Ct. at 1964, 1965).

        The concept of ‘plausibility’ at the dismissal stage refers not to whether the allegations
        are likely to be true; the court must assume them to be true. The question is whether,
        if the allegations are true, it is plausible and not merely possible that the plaintiff is
        entitled to relief under the relevant law.

Id. (quoting Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008)). The Tenth Circuit has

clarified that the Twombly/Iqbal formulation is simply a “refined standard,” not a “heightened” or

“more stringent” standard. See Khalik v. United Air Lines, 671 F.3d 1188, 1191 (10th Cir. 2012). It is

not even necessary that a plaintiff set forth a prima facie case in order to survive a motion to dismiss.

Id. at 1192. Finally, “[t]he court must view all reasonable inferences in favor of the plaintiff, and the

pleadings must be liberally construed.” Ruiz v. McDonnell, 299 F.3d 1173, 1181 (10th Cir. 2002).

        Generally the Court may not look beyond the four corners of the complaint unless a defendant

submits “an indisputably authentic copy [of the extrinsic evidence] to the court to be considered on a

motion to dismiss.” Becher v. United Healthcare Services, Inc., 374 F. Supp. 3d 1102, 1106 (D. Kan.

2019) (quoting Geer v. Cox, 242 F.Supp.2d 1009, 1016 (D. Kan. 2003) (internal quotation marks and

citation omitted)). Further, “[a]t the motion to dismiss stage, the court cannot properly consider

extrinsic evidence that isn’t central to a plaintiff’s claim. This is the rule even if the extrinsic evidence

is central to the defendant’s ‘theories of defense.’” Id. at 1106 (quoting Capital Sols., LLC v. Konica

Minolta Bus. Sols. USA, Inc., Nos. 08-2027-JWL, 08-2191-JWL, 2008 WL 3538968, at *3 (D. Kan.

Aug. 11, 2008)).

    2. Cannabis will be reclassified to Schedule III due to its documented medical use in 38
       states and its imminent, new classification, and current classification poses no barrier to
       insurer reimbursement for use under state medical cannabis programs.

        The Drug Enforcement Administration (“DEA”) of the Department of Justice (“DOJ”) is the

lead federal agency in enforcing narcotics and controlled substances laws and regulations, and it



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published a proposed rule in the Federal Register to reclassify cannabis as a Schedule III drug. See

Schedules of Controlled Substances: Rescheduling of Marijuana, 89 Fed. Reg. 44,597 (May 21, 2024)

(to be codified at 21 C.F.R. Pt. 1308).2 In 60 days, the DEA/DOJ could make permanent this new rule

and classification. All of Defendants’ arguments based on the purported illegality of medical cannabis

fail, because they will be based on an incorrect assertion of disputed fact. Moreover, since August

2023, the Department of Health and Human Services (“HHS”) has recommended that cannabis be

rescheduled to Schedule III because it is has an acceptable medical use. 89 Fed. Reg. at 44,599 (citing

Letter for Anne Milgram, Administrator, DEA, from Rachel L. Levine, M.D., Assistant Secretary for

Health, HHS (Aug. 29, 2023)). The recommendation of HHS was binding prior to the DEA filing its

proposed rule. Id. (citing Questions Related to the Potential Rescheduling of Marijuana, 45 Op.

O.L.C. ____, at *25 (Apr. 11, 2024) (“OLC Op.”)). Even during the rule making process, the DOJ

must afford HHS’s scientific and medical recommendations significant deference. Id. (citing OLC

Op. at 25-26).

         Indeed, “[s]ince 1996, 38 States, the District of Columbia, and 4 Federal Territories have

legalized the use of medical [cannabis].” 89 Fed. Reg. at 44,600 (citing Memorandum for DEA, from

HHS, re: Basis for the Recommendation to Reschedule Marijuana to Schedule III of the Controlled

Substances Act (“HHS Basis for Rec.”) at 30; OLC Op. at *9). And for a decade, Congressional

legislation has prevented the DOJ from prosecuting or taking any action that would interfere with

state medical cannabis programs. Every year since 2014, Congress included a rider on the

appropriations bill that prohibits the Department of Justice to use any appropriated funds “to prevent

any [state with medical cannabis] from implementing their own laws that authorize the use,


2
 The proposed rule refers to marijuana, which it defines as all parts of “the plant Cannabis sativa L.” with more than .3
percent delta-9-tetrahydracannabinol (“Δ9-THC”). 89 Fed. Reg. at 44600 (citing 21 U.S.C. § 802(16); 7 U.S.C. §
1639o(1)). But the word “marijuana” carries a derogatory meaning. The more appropriate term is cannabis, the term
used in LECUA and throughout this Response.




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distribution, possession, or cultivation of medical [cannabis].” See, e.g., Consolidated Appropriations

Act 2022, Pub. L. No. 117-103, 136 Stat 49, § 531 (March 15, 2022). The rider prohibits the DOJ

from spending funds to bring prosecutions if doing so prevents a state from giving practical effect to

its medical cannabis laws. United States v. Bilodeau, 24 F.4th 705, 712–13 (1st Cir. 2022), cert.

denied, Bilodeau v. United States, 2022 WL 2295607 (U.S. June 27, 2022); United States v. Pisarski,

965 F.3d 738, 740–41 (9th Cir. 2020); United States v. McIntosh, 833 F.3d 1163, 1175–76 (9th Cir.

2016). So long as a person is in strict compliance with the medical cannabis laws of the state, the

federal government cannot prosecute them. Bilodeau, 24 F.4th at 713.

       For years, Defendants have been protected from any DOJ enforcement action against them

for covering medical cannabis in compliance with New Mexico’s medical cannabis law. Indeed,

Congressional action continues to justify Justice Thomas’ criticism of Raich, and casts grave doubt

on whether it is even good law anymore, and whether Defendants’ heavy reliance on Raich is

warranted. Standing Akimbo, LLC v. United States, 141 S. Ct. 2236, 2238 (2021) (Thomas, J.)

(quoting Gonzales v. Raich, 545 U.S. 1, 42 (2005) (O’Connor, J., dissenting)). Moreover, New Mexico

state courts repeatedly have ordered insurers to reimburse for medical cannabis—and those insurers

faced no federal interference or exposure to criminal penalty. See, e.g., Barrozo v. Albertsons, Inc.,

No. A-1-CA-39001, 2022 WL 6688497, at *1 (N.M. Ct. App. Oct. 11, 2022), cert. denied sub nom.

Barrozo v. Albertson’s, 2022-NMCERT-012, ¶ 2, 547 P.3d 68 (insurer reimbursed $108.18 for medical

cannabis without objection and only issue was how much to reimburse—not whether to reimburse).

       The extent and scope of federal regulation of medical cannabis is in a state of rapid flux.

Assessing this change and its impact on Plaintiffs’ claims is more appropriately dealt with through

discovery. It is premature for this Court to determine on a Rule 12 motion whether Defendants can




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use federal prohibition arguments as excuses not to cover medical cannabis. In weeks, it will soon be

in the same category as Tylenol with codeine.

   3. Defendants cover medically necessary benefits according to their member handbooks,
      benefit booklets, and Medicaid law; Plaintiffs’ providers have already determined that
      medical cannabis is medically necessary for Plaintiffs under LECUA.

       Next, Defendants assert that they only cover benefits according to their member handbooks

and benefit booklets, neither of which is part of the complaint, and both of which require findings of

fact inappropriate for a Rule 12 motion. Defendants ask this Court to determine, without discovery,

that medical cannabis is not medically necessary.

       To start, Plaintiffs have plausibly alleged that cannabis is a medically necessary behavioral

health service based on scientific literature. Am. Compl. (Doc. 22) ¶¶ 67-71 (detailing with citation

numerous studies finding the medical benefits of cannabis to treat various behavioral health

conditions). Those studies support a reasonable inference of the plausibility of the medical necessity

of medical cannabis. Further, for Plaintiffs and other qualified patients with behavioral health

conditions, a provider has already determined that medical cannabis is medically necessary to treat

their behavioral health conditions pursuant to LECUA. See, e.g., Lewis v. Am. Gen. Media, 2015-

NMCA-090, ¶ 2, 355 P.3d 850, 852 (holding LECUA’s required medical certification forms and notes

of qualified patient’s authorized health care provider were substantial evidence that the use of medical

cannabis constitutes reasonable and necessary medical care). And Defendants’ citations and excerpts

from the benefit booklets all agree that Defendants cover medically necessary services. For Rule

12(b)(6) purposes, it is reasonable to infer from the allegations that Defendants must cover medical

cannabis because it is a medically necessary service.

       At the very least, medical necessity will be a factual issue inappropriate for determination on

the pleadings. See K.G. ex rel. Garrido v. Dudek, 981 F. Supp. 2d 1275, 1281 (S.D. Fla. 2013)




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(discussing trial testimony establishing that particular treatment will be effective and thus mandated

under Medicaid law); Moore ex rel. Moore v. Reese, 637 F.3d 1220, 1258 (11th Cir. 2011) (“The

record presents material issues of fact over what amount of private duty nursing hours are medically

necessary for Moore, which must be resolved by a factfinder at trial.”); Maez v. Riley Indus., 2015-

NMCA-049, ¶ 27, 347 P.3d 732 (reviewing whether factual record supported that medical cannabis

was necessary medical care). Truly, “the Medicaid Act and its implementing regulations grant states

the authority to set reasonable standards for the terms ‘necessary’ and ‘medical necessity.’” K.G., 981

F. Supp. 2d at 1281 (citing 42 U.S.C. § 1396a(a)(17); 42 C.F.R. § 440.230(d)); Rush v. Parham, 625

F.2d 1150, 1154–55 (5th Cir.1980)). Discovery is necessary on medical necessity.

   4. The Medicaid Act is not a barrier to New Mexico mandating coverage of medical
      cannabis as a medically necessary behavioral health service.

       Defendants assert that under the Medicaid Act they only cover FDA approved drugs. But in a

matter of months, medical cannabis is on track to be classified as a Schedule III controlled substance,

just like low dose codeine and anabolic steroids. As discussed, in large part, the DOJ’s proposed rule

change relies on the reality that 38 states have medical cannabis laws and millions of people use

medical cannabis today to treat their medical conditions. Further:

       Although the Medicaid statute and its regulations impose many obligations, states do
       retain substantial discretion in implementing their plans and in choosing “the proper
       mix of amount, scope, and duration limitations on coverage, as long as care and
       services are provided in the best interests of the recipients.”

Rosie D. v. Romney, 410 F. Supp. 2d 18, 24–25 (D. Mass. 2006) (quoting Alexander v. Choate, 469

U.S. 287, 303 (1985).

       Indeed, “the state may choose to expand the care and services available under its plan beyond

the seven mandated categories.” See §§ 1396a(10)(A), 1396d(a) (defining “medical assistance” by

enumerating twenty-eight types of care and services). Under the Medicaid Act, by participating in




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Medicaid, New Mexico must provide “medical assistance” that includes “at least the care and services

listed in paragraphs (1) through (5), (13)(B), (17), (21), (28), (29), and (30) of section 1396d(a).” 42

U.S.C. § 1396a(10)(A). “For example, a state must provide coverage of inpatient hospital and

physicians’ services, but retains the option of covering private duty nursing or physical therapy

services.” Rosie D., 410 F. Supp. 2d at 24 (citing §§ 1396a(a)(10)(A), 1396d(a)).

       Particularly, New Mexico can provide “any other medical care, and any other type of remedial

care recognized under State law” as part of its medical assistance program for Medicaid recipients.

42 U.S.C. § 1396d(a)(32). And New Mexico in fact does provide care and services recognized under

state law for its Medicaid recipients—even beyond what will be federally reimbursed. For example,

New Mexico mandates coverage for pregnancy termination for Medicaid recipients despite the federal

government not reimbursing for that service. Specifically:

       The benefit package includes services for the termination of a pregnancy as detailed
       in 8.310.2 NMAC. Medically necessary pregnancy terminations which do not meet
       the requirements of 42 CFR 441.202 are excluded from the capitation payment made
       to the MCO and shall be reimbursed solely from state funds pursuant to the provisions
       of 8.310.2 NMAC.

8.308.9.16 NMAC. Similarly:

       [a] MCO is encouraged to offer value added services that are not Medicaid covered
       benefits or in lieu of services or settings. The MCO may utilize providers licensed in
       accordance with state and federal requirements to deliver services. The MCO shall
       provide and coordinate comprehensive and integrated health care benefits to each
       member enrolled in managed care and shall cover the physical health, behavioral
       health and long-term care services per this section, its contract, and as directed by
       HSD.

8.308.9.9 NMAC.

       In other words, the Medicaid Act does not prohibit New Mexico from covering medical

cannabis as a behavioral health service even without federal funds being used to reimburse for that

coverage, consistent with the coverages of the New Mexico Benchmark plan and the alternative




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benefit plan that must at least have the same minimum coverage of, inter alia, “[m]ental health and

substance use disorder services, including behavioral health treatment.” 42 C.F.R. 440.347; 45 C.F.R.

§ 156.100; 45 C.F.R. § 156.110; 45 C.F.R. § 156.111.

       A lack of federal reimbursement simply is not the barrier to coverage that Defendants claim.

New Mexico expects MCOs to cover items above and beyond what the federal government requires.

Some of these items are clearly not FDA-approved and instead are directed at the unique

characteristics of New Mexico’s population. See also, e.g., BCBSNM Traditional Medicine Benefit,

available at https://www.bcbsnm.com/community-centennial/pdf/cc-traditional-medicine-benefit-

nm.pdf (describing Medicaid member benefit to receive services from traditional healer as Value-

Added Service). Discovery is needed on these issues.

       Moreover, New Mexico courts have already defined medical cannabis as a reimbursable

service, rejecting that it must be defined as a prescription drug:

       [B]y definition, medical [cannabis] is not a prescription drug. Although it is a
       controlled substance, it is not dispensed by a licensed pharmacist or a health care
       provider upon a written order of a health care provider. A doctor may not order medical
       [cannabis] but may certify a patient to enroll in the medical cannabis program. Section
       26–2B–3 (14). The program is not a licensed pharmacist or a health care provider. To
       Employer, the fact that the program is not a licensed pharmacist or a health care
       provider is the reason that the WCJ's order does not comply with the Act or the
       regulations. But this argument rests on the basis that the definition of a prescription
       drug is the only manner by which the WCJ could order Employer's reimbursement of
       medical [cannabis]. It does not take into account the definition of “services.” That
       definition is significantly broader than the definition of prescription drug. It includes
       non-prescription drugs and other products and further includes providers other than
       licensed pharmacists and health care providers. There is no basis in the regulations to
       declare that the definition of prescription drug is the exclusive manner to address the
       provision of medical [cannabis] to an injured worker.

Vialpando v. Ben’s Auto. Services, 2014-NMCA-084, ¶ 11, 331 P.3d 975, 978.




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       Defendants’ argument that somehow the Medicaid Act prohibits them from covering medical

cannabis as a medically necessary behavioral health service misses the mark, and ignores the wide

latitude New Mexico has to mandate such coverage, even for Medicaid recipients such as Plaintiffs.

   5. SB317 does apply to Plaintiffs’ health insurance plans.

       Defendants summarily claim that SB317 does not apply to Plaintiffs’ Medicaid plans and

solely cite a provision of the Patient Protection Act in support of their contention. Mot. 10 (citing

N.M. STAT. ANN. 1978 § 59A-57-10). But that statute states: “[a] managed health care plan offered

through the Medicaid program shall grant enrollees and providers the same rights and protections as

are granted to enrollees and providers in any other managed health care plan subject to the provisions

of the Patient Protection Act.” N.M. STAT. ANN. 1978 § 59A-57-10(A) (1998). Moreover, it is not

clear how provisions of the Patient Protection Act would somehow make SB317 inapplicable to

Plaintiffs’ Medicaid plans. Moreover, SB317 is not the operative law that would require Plaintiffs’

Medicaid plans to cover medical cannabis. LECUA has determined that medical cannabis is a

medically necessary behavioral health service for qualified patients suffering from the included

behavioral health conditions. And Defendants must cover medically necessary behavioral health

services under the benchmark plan or the alternative benefit plan. 45 C.F.R. § 156.110(a)(5).

Plaintiffs’ Medicaid plans cannot offer less behavioral health coverage than the benchmark plan. 42

C.F.R. § 440.300 (requiring benchmark-equivalent health care benefit coverage). SB317 need not

directly apply at all to Plaintiffs’ Medicaid plans for those plans to still be required to cover medical

cannabis as a medically necessary behavioral health service under LECUA and the Alternative Benefit

Plan that must be the equivalent of the benchmark plan.

       Then Defendants summarily claim that SB317 does not apply to “self-insured plans” and

assume that Plaintiff Candelaria’s health insurance plan is a “self-funded plan” despite there being no




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such allegations in the Complaint. Mot. 10.3 These assertions of fact are inappropriate for resolution

in a Rule 12 motion and discovery is necessary for this factual determination. Further, Plaintiff

Candelaria has coverage under his spouse’s BCBSNM plan as an employee of the University of New

Mexico Hospital—making him a state employee. In other words, Plaintiff Candelaria’s BCBSNM

plan is a “state employee health plan[]” that OSI has explicitly included in the very notice Defendants

cite.

         And SB317 explicitly applies to “any form of self-insurance” by its plain language and by its

corresponding language that applies to government plans procured under the Health Care Purchasing

Act: “Until January 1, 2027, group health coverage, including any form of self-insurance, offered,

issued or renewed under the Health Care Purchasing Act that offers coverage of behavioral health

services shall not impose cost sharing on those behavioral health services.” N.M. STAT. ANN. 1978 §

13-7-26(A) (emphasis added). Defendants conveniently leave out that SB317 was codified in the

Health Care Purchasing Act at Section 13-7-26 so that it applies to public employee plans such as

Plaintiff Candelaria’s plan. And all “[g]roup coverage, including any form of self-insurance, offered,

issued or renewed under the Health Care Purchasing Act shall provide coverage for all mental health

or substance use disorder services required by generally recognized standards of care.” N.M. STAT.

ANN. 1978 § 13-7-31.

         Moreover, a close read of the OSI Notice that Defendants rely on reveals that OSI’s

interpretation that SB317 does not apply to “self-insured plans” is based on the fact that such

employer funded plans are governed by the Employee Retirement Income Security Act (“ERISA”).

But ERISA does not apply to Plaintiff Candelaria’s BCBSNM plan because ERISA specifically does

not apply to government plans. 29 U.S.C. § 1003(b)(1). Similarly, ERISA does not apply to Plaintiffs’


3
 Defendants also appear to assert that at least one plan is a “grandathered (sic)” plan, also an inappropriate factual
assertion. Mot. 7 n.5.




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Medicaid plans that are also government plans. Id. As a result, OSI’s guidance is of little applicability

to the plans at issue in this case.

        Lastly, OSI’s Notice is not binding or dispositive as to whether Defendants in this case must

cover medical cannabis as a behavioral health service without cost sharing, an issue that requires

analysis and interpretation of more than just SB317.

    6. SB317 requires coverage of medical cannabis as a behavioral health service in
       conjunction with the state benchmark plan or the alternative benefits plan requiring
       coverage of behavioral health services, and LECUA’s mandate that medical cannabis is
       a medically necessary behavioral health service for them.

        The New Mexico Benchmark Plan does not exclude medical cannabis as Defendants argue.

The “‘State benchmark plan’ means a qualified health plan that has been approved for sale on the

exchange and that is identified by the superintendent as the plan to be used in developing affordability

criteria.” 13.10.36.7(O) NMAC. The New Mexico Benchmark Plan as determined by OSI was

previously the equivalent of the Presbyterian Silver plan. But there is a factual issue regarding what

the current benchmark is and Defendants have failed to attach an undisputedly authentic copy to their

motion.

        Even under the purported benchmark plan that Defendants cite, outpatient medical services

include medical drugs, NMBP at 26-27, just like SB317 includes coverage of medical drugs as

behavioral health services, see, e.g., N.M. STAT. ANN. 1978 § 59A-22-57(B)(1). Medical cannabis

need not be defined as a drug or medication—it is a behavioral health service pursuant to LECUA

and New Mexico caselaw interpreting it. Vialpando, 2014-NMCA-084, ¶ 11.

        Plaintiffs’ Medicaid plans must cover the same essential services that New Mexico’s

benchmark plan covers, including treatment for behavioral health conditions. Under LECUA, medical

cannabis is a medically necessary treatment for Plaintiffs’ behavioral health conditions. Vialpando,




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2014-NMCA-084, ¶ 11. It must be covered. Or at the very least, there is a dispute of fact regarding

these issues rendering them inappropriate for determination at this stage.

   7. The CSA and the Medicaid Act do not preempt a state mandate to cover medical
      cannabis.

       The Controlled Substances Act (“CSA”) preempts state law whenever “there is a positive

conflict between [a] provision of th[e CSA] and [a] State law so that the two cannot consistently stand

together.” 21 U.S.C. § 903. See also Oregon Prescription Drug Monitoring Program v. U.S. Drug

Enf’t Admin., 860 F.3d 1228, 1236 (9th Cir. 2017). To apply 21 U.S.C. § 902, this Court must

determine whether “compliance with both federal and state regulations is a physical impossibility,”

or the “state law stands as an obstacle to the accomplishment and execution of the full purposes and

objectives of Congress.” Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 98 (1992). See also

Oregon Prescription Drug Monitoring Program, 860 F.3d at 1236.

       There is simply no physical impossibility for Defendants to both cover medical cannabis

through reimbursement and comply with the CSA. First, the DOJ is powerless to prosecute any

Defendant for covering medical cannabis consistent with LECUA due to the appropriations rider. And

it would be premature to rule that Defendants cannot cover medical cannabis based on Defendants’

argument that according to the CSA it has no medical use, because the DOJ already has proposed a

rule asserting in part that medical cannabis indeed does have an acceptable medical use, consistent

with HHS’s longstanding position. 89 Fed. Reg. at 44,616–44,619. In a matter of months, cannabis

likely will be reclassified as a Schedule III controlled substance, even more formally allowing for its

medical application. The full purpose and objectives of Congress are changing with respect to the

CSA’s application to cannabis and medical cannabis.

       Against this rescheduling backdrop, the reasoning of prior cases on this point no longer holds

at all. For example, this district’s decision in Albuquerque Pub. Sch. v. Sledge was based on its




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reasoning that “in the CSA, Congress conclusively determined that cannabis ‘has a high potential for

abuse’ and ‘no currently accepted medical use in treatment,’ and that there is ‘a lack of accepted

safety for use of the drug,’ even ‘under medical supervision.’” Albuquerque Pub. Sch. v. Sledge, Civ.

No. 18-1029 KK/LF, Civ. No. 18-1041 KK/LF, 2019 WL 3755954, at *13 (D.N.M. Aug. 8, 2019)

(quoting 21 U.S.C. § 812(b)(1) & Sch. I). Now, HHS has made the opposite determination, and the

DEA expanded its analysis to include the abundantly clear fact that 38 states have implemented

medical cannabis programs demonstrating the acceptable medical uses of cannabis. 89 Fed. Reg. at

44,616–44,617.

       Similarly, this district’s decision in Hemphill v. Liberty Mut. Ins. Co. also reasoned that “by

characterizing marijuana as a Schedule I drug, Congress expressly found that the drug has no

acceptable medical uses.” Hemphill v. Liberty Mut. Ins. Co., No. Civ. 10-861 LH/RHS, 2013 WL

12123984, at *2 (D.N.M. Mar. 28, 2013) (citing Raich, 545 U.S. at 27). Hemphill’s heavy reliance on

the fact that at that time cannabis was a Schedule I drug crumbles considering the DEA’s proposed

rule to reschedule cannabis.

       In Garcia v. Tractor Supply Co., this district reasoned that “[s]tate medical marijuana laws

that provide limited state-law immunity may not conflict with the CSA.” Garcia v. Tractor Supply

Co., 154 F. Supp. 3d 1225, 1230 (D.N.M. 2016). And that case analyzed whether an employer had to

accommodate an employee’s medical cannabis use under the New Mexico Human Rights Act, id.,

which is different than simply reimbursing for medical cannabis as a behavioral health service.

Moreover, other districts have held otherwise. In Noffsinger v. SSC Niantic Operating Co. LLC, the

federal District of Connecticut held:

       Given that the CSA nowhere prohibits employers from hiring applicants who may be
       engaged in illegal drug use, defendant has not established the sort of “positive conflict”
       between § 21a–408p(b)(3) and the CSA that is required for preemption under the very
       terms of the CSA. See 21 U.S.C. § 903. Nor does any tension between § 21a–




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       408p(b)(3) and the CSA rise to the level of the “sharp” conflict required to establish
       obstacle preemption under the case law. The CSA does not preempt § 21a–408p(b)(3).

273 F. Supp. 3d 326, 336 (D. Conn. 2017). LECUA now also has a similar protection against

discrimination for employees. N.M. STAT. ANN. 1978 § 26-2B-9(A) (2019) (“it is unlawful to take an

adverse employment action against an applicant or an employee based on conduct allowed under the

Lynn and Erin Compassionate Use Act”); Stanley v. Cnty. of Bernalillo, No. A-1-CA-36835, 2019

WL 6728849, at *2 (N.M. Ct. App. Nov. 26, 2019) (discussing LECUA prior to employee protection

amendment). This further renders the Garcia decision unusable to guide the Court here.

       Defendants still are unable to articulate how mere reimbursement for medical cannabis

services violates the CSA. Indeed, the CSA has not been a barrier for insurers to insure businesses

engaged in the cannabis industry against loss—even of cannabis products. See, e.g., Apex Sols., Inc.

v. Falls Lake Nat'l Ins. Co., Case No. 21-cv-05496-HSG, 2021 WL 5102157, at *1 (N.D. Cal. Nov.

3, 2021) (discussing claim under insurance policy for loss of cannabis products); Cannabis Insurance

coverage offered through HUB, available at https://www.hubinternational.com/industries/cannabis-

insurance/.

       The only particularized argument Defendants offer is that somehow reimbursement is the

equivalent to aiding or abetting. Of course, New Mexico courts have repeatedly rejected this

argument. For example, like Defendants here, in Vialpando, the employer asserted that, “because

marijuana remains a controlled substance under federal law, the order to reimburse Worker for money

spent purchasing a course of medical [cannabis] ‘essentially requires’ Employer to commit a federal

crime.” Vialpando, 2014-NMCA-084, ¶ 15. But just like Defendants here, in Vialpando, the employer

did “not cite to any federal statute it would be forced to violate.” Id. In Lewis, the Court of Appeals

affirmed “we declined to reverse the WCJ’s order in Vialpando based on either federal law or public

policy, observing that the employer had not demonstrated that the order would have required it to




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violate a federal statute and that federal public policy was ambiguous in contrast with New Mexico's

clear public policy expressed in the Compassionate Use Act.” Lewis, 2015-NMCA-090, ¶ 26.

          Defendants only cite to the general prohibition that “it shall be unlawful for any person

knowingly or intentionally--(1) to manufacture, distribute, or dispense, or possess with intent to

manufacture, distribute, or dispense, a controlled substance . . . .”21 U.S.C. § 841(a)(1). But there is

no dispute Defendants would not be knowingly or intentionally manufacturing, distributing, or

dispensing medical cannabis, nor would they be possessing medical cannabis with any such intent.

Merely reimbursing for medical cannabis services would not aid, abet, counsel, command, induce or

procure the commission of a federal crime. 18 U.S.C. § 2. Defendants do not bother to articulate the

elements of aiding and abetting, which requires that “the government must prove beyond a reasonable

doubt that the defendant: (1) ‘willfully associate[d] with the criminal venture,’ and (2) ‘aid[ed] such

venture through affirmative action.’” United States v. Isaac-Sigala, 448 F.3d 1206, 1210 (10th Cir.

2006) (quoting United States v. Delgado–Uribe, 363 F.3d 1077, 1084 (10th Cir. 2004)). Certainly,

Defendants complying with state law mandating coverage of medical cannabis would not be

“willfully associating with a criminal venture” nor aiding any criminal venture through affirmative

action.

          As already discussed, the DOJ is powerless to prosecute any Defendant for reimbursing

Plaintiffs’ medical cannabis purchased in accordance with LECUA due to the appropriations rider.

And now the HHS and DEA agree that cannabis should not be classified as a Schedule I controlled

substance because of its medical necessity under state programs like LECUA. Rather than it being

impossible for Defendants to comply with both the CSA and covering medical cannabis, it is instead

impossible for them to have any criminal exposure under the CSA for doing so.




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       For these same reasons, mandating coverage of medical cannabis as a medically necessary

behavioral health service is not an obstacle to Congress’s stated objectives as outlined in the DEA’s

proposed rule reclassifying it as Schedule III based on its extensive medical use in 38 states. Medicaid

law also does not expressly prohibit reimbursing medical cannabis as a medically necessary

behavioral health service, as already discussed. The lack both of federal reimbursement or FDA

approval is not a barrier to New Mexico mandating Medicaid coverage of medical cannabis as a

medically necessary behavioral health service. In fact, Congress’s clear objective in passing the

Medicaid Act and giving states such wide latitude to determine what constitutes medical necessity

and what unique benefits states ultimately choose to provide to their citizens is consistent with

recognizing New Mexico’s choice to mandate coverage of medical cannabis.

       Moreover, to the extent that Defendants erroneously argue that medical cannabis cannot be

covered as a Schedule I controlled substance, as already discussed, the premise of their argument will

fall away in less than 60 days. In fact, it is the state’s option whether to comply with the tracking

requirements of 42 U.S.C. § 1396w-3a for Schedule III controlled substances. 42 U.S.C. § 1396w-

3a(h)(1) (making it “the option of the State involved” to include in the definition of controlled

substance “a drug included in schedule III or IV”). Once cannabis is classified as Schedule III, New

Mexico already has controls in place under LECUA for qualified patients to access it as a medically

necessary behavioral health service, and New Mexico already tracks medical cannabis production and

sales. And even now, New Mexico can still require coverage of medical cannabis for its Medicaid

recipients even without federal reimbursement.

   8. SB317 implies a private right of action.

       Relying primarily on an unpublished opinion, Defendants contend that if there is “no express

language” in a statute creating a private right of action, then no private right of action can exist. See




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Mot. 21 (citing Ward v. Convergys Inc., No. 1:10-CV-21 WJ/WDS, 2010 WL 11493700 (D.N.M. Apr.

30, 2010)). Such a position is contrary to the prevailing case law in New Mexico, which holds that a

private right of action can be implied by a New Mexico statute. See Cates v. Mosher Enterprises,

Inc., 2017-NMCA-063, ¶ 23, 403 P.3d 687, 694 (holding that a New Mexico statute can provide for

an implied right of action); Woodard v. Fid. Nat. Title Ins. Co., No. CIV 06–1170 RB/WDS, 2007 WL

5173415, at *5–6 (D.N.M. Dec. 4, 2007) (analyzing when an implied right of action can exist). When

a statute does not expressly provide for a private right of action, the question turns to whether the

statute contains an implied private right of action. Woodard, 2007 WL 5173415, at *5–6.

       Courts will look to the factors outlined in Yedidag v. Roswell Clinic Corp., 2015-NMSC-012,

¶ 31, 346 P.3d 1136, to evaluate whether a private right of action is implied. These factors are:

       (1) Was the statute enacted for the special benefit of a class of which the plaintiff is a
       member? (2) Is there any indication of legislative intent, explicit or implicit, to create
       or deny a private remedy? and (3) Would a private remedy either frustrate or assist the
       underlying purpose of the legislative scheme?

See Cates v. Mosher Enterprises, Inc., 2017-NMCA-063, ¶ 7, 403 P.3d 687, 690; In re Picacho Hills

Util. Co., Inc., U.S.D.C. Appeal No. 17-cv-1260 MV/JHR, 2019 WL 259133, at *4 (D.N.M. Jan. 18,

2019); see also Woodard, 2007 WL 5173415, at *5–6 (noting that the test to determine whether a

statute embraces an implied private right of action is legislative intent) (citing Key v. Chrysler Motors

Corp., 1996-NMSC-038, ¶ 11, 918 P.2d 350, 354). While federal courts are more limited than state

courts in their ability to find an implied private right of action in state statutes, nothing prohibits a

federal court from utilizing the Yedidag factors to determine if an implied right of action exists.

Federal courts, unlike state courts, may not look to public policy to determine whether an implied

private right of action exists, but such a public policy analysis is independent of the three Yedidag

factors outlined above. See Nat’l Tr. for Historic Pres. v. City of Albuquerque, 1994-NMCA-057, ¶

11, 874 P.2d 798, 802.



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       Based on the Yedidag factors, an implied private right of action clearly exists for SB317. First,

SB317 was clearly enacted for the benefit of those patients that receive behavioral health services.

The entire purpose of SB317 is to eliminate cost sharing for behavioral health services. Plaintiffs are

qualified patients under LECUA specifically for the treatment of behavioral health conditions. As

recipients of behavioral health services, Plaintiffs are members of the class that SB317 is intended to

benefit.

       Second, in the statutory scheme applicable to this case, the Legislature has been explicit in

identifying those areas where it intends to deny a private remedy. For example, when addressing the

coverage of costs incurred in cancer clinical trials, the Legislature mandated that “[t]he provisions of

this section do not create a private right or cause of action for or on behalf of a patient against the

health plan providing coverage.” N.M. STAT. ANN. 1978 § 59A-22-43(E). If the Legislature intended

for its silence to mean an absence of a private right of action, there would have been no need to

specifically state that a private right of action does not exist for clinical trials. The fact that the

Legislature believed it necessary to exclude a private right of action for clinical trials, demonstrates

that the Legislature believed a private right of action existed for the rest of the statutory scheme. Had

the Legislature intended for no private right of action to exist for any of the code sections, its language

related to clinical trials would be rendered meaningless. Such an interpretation would violate a well-

established canon of statutory interpretation: “‘[a] statute must be construed so that no part of the

statute is rendered . . . superfluous.’” Gallegos v. Bernalillo Cnty. Bd. of Cnty. Commissioners, 272 F.

Supp. 3d 1256, 1266 (D.N.M. 2017) (quoting State v. Javier M., 2001–NMSC–030, ¶ 32, 33 P.3d 1,

15)). Defendants are now asking this Court to do exactly that: interpret the statutory scheme in such

a manner to deem the Legislature’s own language as meaningless and superfluous. Such an approach

is contrary to both the fundamental tenet of statutory interpretation and the plain language of the




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statutory scheme. The indication here is that the Legislature intended for a private right of action to

exist for SB317.

       Finally, allowing a private remedy would assist the underlying purpose of SB317’s legislative

scheme. The entire purpose of SB317 is to ensure that health insurers do not require their members,

such as Plaintiffs, to share in the cost of receiving behavioral health services. It is these members that

are optimally positioned to know whether or not the health insurers are complying with the mandates

of SB317. Allowing a private right of action to enforce beneficiaries’ rights under SB317 would help

ensure compliance by health insurers who would potentially face private litigation as a result of any

non-compliance.     Heightened compliance with SB317 would further the Legislature’s goal of

ensuring that beneficiaries are not required to pay for behavioral health services.

       All three of the Yedidag factors weigh in favor of finding an implied private right of action in

SB317. While a federal court cannot find an implied private right of action based solely on public

policy grounds, the Yedidag factors, which are independent of the public policy analysis, allow for a

federal court finding of an implied private right of action. Even in the absence of an express private

right of action in the language of SB317, an implied right of action does exist.

   9. Plaintiffs state a cause of action for breach of contract.

       Defendants’ sole arguments regarding Plaintiffs’ breach of contract claims are that (1)

Plaintiffs did not allege they asked Defendants for coverage, and (2) Defendants’ “terms plainly

exclude coverage for cannabis.” Mot. 22-23. These arguments cancel each other out, since Defendants

take the position that they will not cover medical cannabis, but that Plaintiffs needed to ask for

coverage to find that out, despite Defendants’ stated intention to breach their contracts and not cover

cannabis. Nonetheless, Plaintiffs did ask for coverage, and, unsurprisingly, Defendants did not

respond by covering medical cannabis. See Letter to BCBSNM (Feb. 18, 2022) (attached as “Exhibit




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1”); Letter to Presbyterian (Feb. 18, 2022) (attached as “Exhibit 2”); Letter to Western Sky (Feb. 18,

2022) (attached as “Exhibit 3”).4 Moreover, the Court must accept as true Plaintiffs’ allegations that

“Defendants are in breach of their respective health insurance policies as Plaintiffs have paid, without

reimbursement, one hundred percent (100%) of the cost of their medical cannabis.” Doc. 22 ¶ 134.

At the very least, there is a dispute of fact as to whether it was necessary for Plaintiffs to do more than

send a letter requesting coverage, especially in light of Defendants’ stated position that they will not

reimburse for medical cannabis, and their continued refusal to do so to this day.

         Defendants’ argument that they cannot cover medical cannabis because they only cover

medically necessary services ignores that, for Plaintiffs, a provider has already determined that

medical cannabis is a medically necessary service as part of the process for them becoming qualified

patients. Doc. 22 ¶¶ 50-57; Vialpando, 2014-NMCA-084, ¶ 10. At the very least, this is a factual

issue. To the extent Defendants rely on cannabis being a Schedule I controlled substance, this

argument is premature in light of the DEA’s proposed rule. And Defendant MCOs can over medical

cannabis as a value added service or otherwise as a service paid for solely with New Mexico funds,

negating any imagined barrier in the Medicaid Act.

    10. Plaintiffs state a cause of action for breach of the covenant of good faith and fair dealing.

         Defendants argue that because there is no breach of contract, there can be no breach of the

implied covenant of good faith and fair dealing. But Plaintiffs have plausibly alleged claims for breach

of contract, and those allegations must be accepted as true for the purposes of Defendants’ motion.

“A party breaches the covenant of good faith and fair dealing by denying a contracting party the

benefits owed to it under the contract.” Mirzai v. State of New Mexico Gen. Services Dept., 506 F.

Supp. 2d 767, 777 (D.N.M. 2007). Plaintiffs have sufficiently alleged that Defendants denied


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 These attached letters highlight the need for further discovery, and Plaintiffs object to consideration of extrinsic
evidence without discovery. Fed. R. Civ. P. 56(d).




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Plaintiffs the benefits owed under the contracts to provide coverage for medical cannabis as a

medically necessary behavioral health service without cost sharing. Doc. 22 ¶¶ 138-139.

         Moreover, Defendants greatly exaggerate the purported “clarity” of their contracts to claim

that mandating coverage of medical cannabis would require “rewriting” a valid agreement. Mot. 24.5

No rewriting at all is required to countenance a good faith and fair dealing claim here. “[E]very

contract in New Mexico imposes the duty of good faith and fair dealing upon the parties in the

performance and enforcement of the contract.” Grebe v. State Farm Ins., Civ. 01-833 WWD/KBM,

2002 WL 35650005, at *3 (D.N.M. Apr. 3, 2002) (quoting Paiz v. State Farm Fire & Cas. Co., 1994-

NMSC-079, ¶ 31, 880 P.2d 300, 309). While an implied covenant of good faith and fair dealing will

not override express provisions addressed by the terms of a contract, Grebe, 2002 WL 35650005, at

*3, Defendants’ own terms state they will cover medically necessary services, and they must cover

behavioral health services. 45 C.F.R. § 156.110(a). Medical cannabis is a medically necessary

behavioral health service that must be covered. Vialpando, 2014-NMCA-084, ¶ 10.

    11. Plaintiffs state a cause of action for violations of the Unfair Practices Act.

         Again, Defendants skate past the federal pleading standard of plausibility to attack Plaintiffs’

claims under the New Mexico Unfair Practices Act (“UPA”). But Plaintiffs have plausibly alleged

that Defendants, by offering plans that do not cover medical cannabis as they should have, violated

the UPA. Plaintiffs’ allegations that must be accepted as true include that medical cannabis is a

medically necessary behavioral health service for Plaintiffs. Doc. 22 ¶¶ 50-71. And Defendants agree

that they must cover medically necessary services, and must cover behavioral health services. 45

C.F.R. § 156.110(a).


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  Defendants admit that only Western Sky Community Care, Inc. has anything specific about medical cannabis. Mot. 23
n.8. The lack of any similar specificity in the remaining Defendants’ policies is fatal to their claim that there can be no
implied term. And all of this is inappropriate for resolving on a Rule 12(b)(6) motion, where the only concern of the Court
is whether there are plausible allegations entitling Plaintiffs to relief. Plaintiffs have met this standard.




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        Moreover, Plaintiffs further allege that Defendants, as large health insurance companies, failed

to provide coverage for their members who qualified to use medical cannabis under LECUA. In order

to have so qualified, these patients were diagnosed by a healthcare practitioner as having a debilitating

medical condition. Doc. 22 ¶¶ 53-54. The gross disparity in the bargaining strength and sophistication

between health insurers and individuals with debilitating medical conditions is clear on its face.

Nonetheless, Plaintiffs still allege in the First Amended Complaint that Defendants “took advantage

of the lack of ability or capacity of Plaintiffs.” Doc. 22 ¶ 145. Plaintiffs further allege that Defendants’

refusal to pay for medical cannabis constituted an “unconscionable trade practice” that resulted in a

“gross disparity between the value received by Plaintiffs and the consideration given . . . .” Id.

        When analyzing a motion to dismiss, a “court must view all reasonable inferences in favor of

the plaintiff, and the pleadings must be liberally construed.” Ruiz, 299 F.3d at 1181. The factual

allegations in a Complaint do not need to expressly lay out the basis for the claim of procedural

unconscionability. Johnson v. Hertz Corp., Civil No. 06-43 WJ/ACT, 2006 WL 8443332, at *3

(D.N.M. Nov. 20, 2006). “[T]he notice pleading requirements of Fed. R. Civ. P. 8 do not compel a

Plaintiff to set forth all facts [regarding unconscionability] with particularity.” Id.       Even if not

expressly pled, Plaintiffs’ allegations of unconscionability can be sufficient to put Defendants on

notice of a claim under a procedural or substantive theory. Id.

        Here, Plaintiffs have sufficiently outlined allegations that put Defendants on notice of a claim

under both a procedural or substantive theory. Plaintiffs have alleged that there is a gross disparity in

both the sophistication of the parties and the fairness of the terms of the health insurance policies.

This is sufficient to defeat a motion to dismiss. Further, the parties should be allowed to develop their

claims/defenses regarding unconscionability through discovery. The New Mexico Supreme Court has

held that “[a] court in which a portion of a contract, including a lease, is challenged as unconscionable




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should receive evidence, if relevant, as to its commercial setting, purpose and effect in ruling on

unconscionability.” State ex rel. State Highway & Transp. Dept. v. Garley, 1991-NMSC-008, ¶ 32,

806 P.2d 32, 39. An analysis of procedural unconscionability will “require a court to take evidence

on the circumstances surrounding contract formation.” Johnson, 2006 WL 8443332, at *3. Plaintiffs

have adequately pled their UPA claim, and should have the opportunity to develop the claim through

discovery.

   12. Plaintiffs state a cause of action for violations of the Unfair Insurance Trade Practices
       Act.

       Under the Unfair Insurance Trade Practices Act (“UITPA”), Defendants cannot “collect any

sum as premium or charge for insurance or other coverage, which insurance or coverage is not then

provided . . . .” N.M. STAT. ANN. 1978 § 59A-16-24(A). Plaintiffs have clearly alleged that Defendants

are offering insurance that does not cover without cost sharing medical cannabis despite it being a

medically necessary behavioral health service, contrary to the requirements of the benchmark plan,

and SB317. Defendants are receiving premiums, either as MCOs from the state or as Health

Maintenance Organizations (“HMO”) for private insurance. Thus they are violating N.M. STAT. ANN.

1978 § 59A-16-24(A). Defendants cannot dispute that they receive premiums. For the MCO

Defendants offering Medicaid plans, their very definition includes that they are receiving premiums:

“‘managed care organization’ means a person eligible to enter into risk-based prepaid capitation

agreements with the department to provide health care and related services . . . .” N.M. STAT. ANN.

1978 § 27-11-2(G). Similarly:

               ‘health maintenance organization’ means a person that undertakes to provide
       or arrange for the delivery of basic health care services to enrollees on a prepaid basis,
       except for enrollee responsibility for copayments or deductibles, including a carrier
       that issues:
               (1)     a short-term contract;




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               (2)     an excepted benefit policy or contract intended to supplement major
               medical coverage, including medicare supplement, vision, dental, disease-
               specific, accident-only or hospital indemnity-only insurance policies; or
               (3)     a policy for long-term care or disability income;

N.M. STAT. ANN. 1978 § 59A-46-2(O) (2019).

       Just as with Plaintiffs’ UPA claim, Plaintiffs’ meet the pleading standard and plausibly allege

that Defendants violated the UITPA. Johnson, 2006 WL 8443332, at *3.

   13. Plaintiffs state a cause of action for unjust enrichment.

       New Mexico has long recognized actions for unjust enrichment. Ontiveros Insulation Co. v.

Sanchez, 2000–NMCA–051, ¶ 11, 129 N.M. 200 (citing Tom Growney Equip., Inc. v. Ansley, 1994–

NMCA–159, ¶ 6). To prevail on an unjust enrichment claim, one must show that: (1) another has

knowingly benefitted at one’s expense, and (2) in a manner such that allowance of the other to retain

the benefit would be unjust. Hunt v. N. Carolina Logistics, Inc., 193 F. Supp. 3d 1253, 1266 (D.N.M.

2016) (Browning, J.) (citing Ontiveros, 2000-NMCA-051, ¶ 11).

       New Mexico courts have long recognized that claims for unjust enrichment are distinct from

claims sounding in contract or tort law. See Hydro Conduit Corp. v. Kemble, 1990-NMSC-061, ¶ 19,

110 N.M. 173 (noting that unjust enrichment constitutes an independent basis for recovery in a civil

law action, analytically and historically distinct from the other two principal grounds for liability

under contract and tort). The theory of unjust enrichment “has evolved largely to provide relief where,

in the absence of privity, a party cannot claim relief in contract and instead must seek refuge in

equity.” Ontiveros, 2000-NMCA-051, ¶ 11.

       Defendants contend that Plaintiffs cannot maintain a cause of action for unjust enrichment due

to the “presence of a contract.” Mot. 26. Earlier in their same motion, Defendants appear to argue that

there is no contractual relationship between the parties. Mot. 22 n.7. Defendants cannot

simultaneously argue that there is no contractual relationship, while also moving to dismiss Plaintiffs’




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claim for unjust enrichment due to the existence of a contract. Further, Defendants contend that the

benefits sought by Plaintiffs are not included in any contract. Mot. 22-23. If these benefits are not

covered in any contract, then Plaintiffs should be allowed to seek relief in equity. In either case, it

would be inappropriate and premature to dismiss Plaintiffs’ claim for unjust enrichment, and Plaintiffs

in any event, as masters of their Complaint, certainly are allowed to plead alternative theories of

recovery

   14. Plaintiffs have a right to declaratory relief.

       Plaintiffs have a valid claim for declaratory judgment because their other causes of action are

all plausible substantive causes of action. Carr v. Oklahoma Student Loan Auth., No. CIV-23-99-R,

2023 WL 6929853, at *5 (W.D. Okla. Oct. 19, 2023) (denying motion to dismiss declaratory judgment

action under 28 U.S.C. § 2201). Defendants’ only argument that Plaintiffs’ claim for declaratory relief

should be dismissed is based on their arguments that all other claims must be dismissed. As already

discussed, Plaintiffs have sufficiently pled multiple causes of action and dismissal under Rule 12(b)(6)

is inappropriate.

   15. Plaintiffs request leave to amend their complaint if there is any insufficiency.

       In the alternative, if there is any doubt about the sufficiency of the allegations under Rule

12(b)(6), Plaintiffs should be afforded the ability to amend their complaint. Rule 15(a) allows a party

to amend his or her complaint after twenty days have elapsed since the opposing party was served

“only by leave of court or by written consent of the adverse party,” with such amendments being

“freely given when justice so requires.” Fed. R. Civ. P. 15(a). See also Calderon v. Kansas Dept. of

Social and Rehabilitation Serv., 181 F.3d 1180, 1186 (10th Cir. 1999) (“The liberal granting of

motions for leave to amend reflects the basic policy that pleadings should enable a claim to be heard

on its merits.”); Hall v. Bellmon, 935 F.2d 1106, 1109-10 (10th Cir. 1991) (stating that “dismissals




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under Rule 12(b)(6) typically follow a motion to dismiss, giving plaintiff notice and opportunity to

amend his complaint.”); Awad v. United States, No. 15-CV-0373-MV-KBM, 2016 WL 10592150, at

*2 (D.N.M. Feb. 24, 2016) (“[T]his Court has consistently endorsed the view that “if a complaint is

vulnerable to 12(b)(6) dismissal, a district court must permit a curative amendment, unless an

amendment would be inequitable or futile.”) (quoting Phillips v. Cty. of Allegheny, 515 F.3d 224, 236

(3d Cir. 2008)). Accordingly, if the Court believes that any of Plaintiffs’ claims do not meet the

standards of Rule 12(b)(6) then Plaintiffs request they be afforded the opportunity to amend their

complaint.

   16. Plaintiffs respectfully request the Court deny Defendants’ Motion in its entirety.

       Defendants want to complicate this case with federal law. But it is about state law, and New

Mexico’s ability to require Defendants to cover medical cannabis as a medically necessary behavioral

health service, whether there is federal reimbursement or not. Moreover, it is premature to adopt

Defendants’ arguments that are based nearly entirely on Raich and cannabis being a Schedule I

controlled substance, when that is imminently going to change.

                                             Respectfully submitted,

                                             SAUCEDO HARRIGAN APODACA
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I HEREBY CERTIFY that on May 31, 2024,
the foregoing was filed electronically through
the CM/ECF system, which caused all parties and
counsel to be served by electronic means, as more
fully reflected on the Notice of Electronic Filing.

/s/ Christopher T. Saucedo
Christopher T. Saucedo, Esq.




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